Case 22-01231-MBK                  Doc 14      Filed 07/20/22 Entered 07/20/22 10:52:08                      Desc Main
                                              Document      Page 1 of 2
    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

    WOLLMUTH MAHER & DEUTSCH LLP
    Paul R. DeFilippo, Esq.
    500 Fifth Avenue
    New York, New York 10110
    Telephone: (212) 382-3300
    Facsimile: (212) 382-0050
    pdefilippo@wmd-law.com

    JONES DAY
    Gregory M. Gordon, Esq.
    Brad B. Erens, Esq.
    Dan B. Prieto, Esq.
    Amanda Rush, Esq.
    2727 N. Harwood Street
    Dallas, Texas 75201
    Telephone: (214) 220-3939
    Facsimile: (214) 969-5100
    gmgordon@jonesday.com
    bberens@jonesday.com
    dbprieto@jonesday.com
    asrush@jonesday.com
    (Admitted pro hac vice)

    ATTORNEYS FOR DEBTOR

    In re:                                                           Chapter 11
    LTL MANAGEMENT LLC, 1
                                                                     Case No.: 21-30589 (MBK)
                                 Debtor.
                                                                     Judge: Michael B. Kaplan
    LTL MANAGEMENT LLC,
                                                                     Adv. Proc. No. 22-01231 (MBK)
                                 Plaintiff,
                 v.
                                                                     Hearing Date and Time:
    STATE OF NEW MEXICO, ex rel. HECTOR H.                           July 21, 2022 at 11:00 a.m.
    BALDERAS, Attorney General, and STATE OF
    MISSISSIPPI, ex rel. JIM HOOD, Attorney General,

                                Defendants.


                                        CERTIFICATION OF CONSENT
                                        REGARDING CONSENT ORDER

       I certify that with respect to the Consent Order concerning the Debtor’s Verified Complaint for
Injunctive Relief (I) Preliminarily Enjoining the Prosecution of the New Mexico and Mississippi State
Actions and (II) Granting a Temporary Restraining Order Pending a Final Hearing [Dkt. No. 1] and
Motion for an Order (I) Preliminarily Enjoining the Prosecution of the New Mexico and Mississippi State
Actions and (II) Granting a Temporary Restraining Order Pending a Further Hearing [Dkt. Nos. 2, 3 and
4] submitted to the Court, the following conditions have been met:
             (a) The terms of the consent order are identical to those set forth in the original consent order;
             (b) The signatures represented by the /s/ _______________ on the consent order reference the
             signatures of consenting parties obtained on the original consent order;
             (c) I will retain the original consent order for a period of 7 years from the date of closing of the
             case or adversary proceeding.

1
              The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
              501 George Street, New Brunswick, New Jersey 08933.
Case 22-01231-MBK          Doc 14      Filed 07/20/22 Entered 07/20/22 10:52:08                 Desc Main
                                      Document      Page 2 of 2
      (d) I will make the original consent order available for inspection on request of the Court or
      any party in interest; and

Final paragraph options:
☐ (e) If submitting the consent order and this certification to the Court conventionally, I acknowledge
the signing of same for all purposes, including those under Fed. R. Bankr. P. 9011 (sign certification in
pen and ink and the Court will scan);

☒ (e) If submitting the consent order and this certification to the Court electronically via the presiding
judge’s e mail box, as a registered Participant of the Court’s Case Management/ Electronic Files
(CM/ECF) System, I will simultaneously electronically file this certification with the Court, by use of my
login and password, thereby signing same for all purposes including those under Fed. R. Bankr. P 9011
(sign certification with a /s/________________________).


Date: July 20, 2022                                       ____/s/ Paul R. DeFilippo________________
                                                          Signature of Attorney

                                                                                                   rev.8/1/15
